                                          Case 4:17-cv-01661-HSG Document 48 Filed 09/01/17 Page 1 of 5




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    TIMOTHY ABOUDARA, JR.,                             Case No. 17-cv-01661-HSG
                                   8                   Plaintiff,                          ORDER GRANTING IN PART AND
                                                                                           DENYING IN PART MOTION TO
                                   9            v.                                         CONDITIONALLY CERTIFY FLSA
                                                                                           COLLECTIVE ACTION
                                  10    CITY OF SANTA ROSA,
                                                                                           Re: Dkt. No. 24
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Pending before the Court is Plaintiff Timothy Aboudara, Jr.’s motion for conditional

                                  14   certification of a collective action pursuant to 29 U.S.C. § 216(b). Dkt. No. 24. For the reasons

                                  15   detailed below, the Court GRANTS the motion IN PART and approval of the form of the class

                                  16   notice is stayed pending an attempt by the parties to agree upon its contents.

                                  17     I.   BACKGROUND
                                  18          Plaintiff alleges that he is currently a firefighter for — and employee of — Defendant City

                                  19   of Santa Rosa. Dkt. No. 1 (“Compl.”) ¶¶ 3, 20; Dkt. No. 24-3 ¶ 2. Plaintiff has also been a

                                  20   member of the International Association of Firefighters, Local 1401 (“Local 1401”) since his

                                  21   employment with Defendant began in October 2004. Dkt. No. 24-3 ¶ 2. On March 27, 2017, he

                                  22   brought this Fair Labor Standards Act (“FLSA”) case on behalf of himself and all others similarly

                                  23   situated against Defendant for improperly calculating their overtime compensation and cash out

                                  24   payments for compensatory time off (“CTO”). See Compl. ¶¶ 23–27. More specifically, Plaintiff

                                  25   alleges that Defendant erroneously excluded two types of compensation that he receives under the

                                  26   collective bargaining agreement between Defendant and Local 1401 when calculating his “regular

                                  27   rate” of pay. Id.; see also Dkt. Nos. 24-6, 24-7, and 24-8 (excerpts from collective bargaining

                                  28   agreements).
                                          Case 4:17-cv-01661-HSG Document 48 Filed 09/01/17 Page 2 of 5




                                   1             Pursuant to the collective bargaining agreement, Plaintiff and his fellow members of Local

                                   2   1401 receive cash payments in lieu of holidays (“HIL”), regardless of whether they actually

                                   3   worked those holidays. See Dkt. No. 24-3 ¶¶ 4, 7. Under the agreement, HIL compensation is

                                   4   prorated based on the number of calendar days worked by an employee, regardless of the number

                                   5   of holidays that have occurred or will occur. Id. It also cannot be used for non-working hours

                                   6   such as vacation or sick leave. Id. Plaintiff and members of Local 1401 also receive sick leave

                                   7   incentive payments (“SLI”), the equivalent of one shift’s pay if they take fewer than 56 hours of

                                   8   sick leave in a year. Id. ¶¶ 6–7. According to Plaintiff, Defendant excluded both HIL and SLI

                                   9   from Local 1401’s overtime pay and CTO calculations. Compl. ¶¶ 30–39; see also Dkt. No. 24-3

                                  10   ¶¶ 10–12; Dkt. No. 24-4 ¶¶ 11–13. Plaintiff now requests certification of a collective action and

                                  11   for an order authorizing facilitated notice of this action to prospective class members. See Dkt.

                                  12   No. 24.
Northern District of California
 United States District Court




                                  13    II.      LEGAL STANDARD
                                  14             Under the FLSA, an employee may bring a collective action on behalf of other “similarly

                                  15   situated” employees. 29 U.S.C. § 216(b); see also Does v. Advanced Textile Corp., 214 F.3d

                                  16   1058, 1064 (9th Cir. 2000). Unlike class actions certified under Federal Rule of Civil Procedure

                                  17   23, potential members of an FLSA collective action must “opt in” to the suit by filing a written

                                  18   consent with the Court in order to benefit from and be bound by a judgment. Id. The district court

                                  19   has discretion to determine whether a collective action is appropriate. See Leuthold v. Destination

                                  20   Am., Inc., 224 F.R.D. 462, 466 (N.D. Cal. 2004).

                                  21             Neither the FLSA nor the Ninth Circuit defines the term “similarly situated.” District

                                  22   courts in this Circuit and numerous other Circuits generally apply a two–step approach,

                                  23   differentiating between conditional and final class certification. See, e.g., Rivera v. Saul

                                  24   Chevrolet, Inc., No. 16-CV-05966-LHK, 2017 WL 3267540, at *2 (N.D. Cal. July 31, 2017)

                                  25   (collecting cases). Under the first step, the Court determines whether potential opt-in plaintiffs

                                  26   exist who are similarly situated to the representative plaintiffs such that a class should be

                                  27   conditionally certified to provide them with notice of the action. Id. Those individuals become

                                  28   parties to a collective action only by filing written consent with the Court. Id.
                                                                                          2
                                           Case 4:17-cv-01661-HSG Document 48 Filed 09/01/17 Page 3 of 5




                                   1          At this stage, the Court applies a fairly lenient standard and generally relies on the

                                   2   pleadings and any filed affidavits. See Leuthold, 224 F.R.D. at 468; see also Wellens v. Daiichi

                                   3   Sankyo, Inc., No. 13-CV-00581-WHO, 2014 WL 2126877, at *1 (N.D. Cal. May 22, 2014). To

                                   4   warrant conditional certification, “[t]he plaintiff must make substantial allegations that the putative

                                   5   class members were subject to an illegal policy, plan, or decision, by showing that there is some

                                   6   factual basis beyond the mere averments in the complaint for the class allegations.” Wellens, No.

                                   7   13-CV-00581-WHO, 2014 WL 2126877, at *1 (quotation omitted). The plaintiff need not

                                   8   conclusively establish that collective resolution is proper, however, because certification at the

                                   9   initial stage is conditional and a defendant may revisit the issue after conducting discovery at the

                                  10   second stage. Kress v. PricewaterhouseCoopers, LLP, 263 F.R.D. 623, 628–30 (E.D. Cal. 2009).

                                  11   III.   ANALYSIS
                                  12          A.    Similarly Situated
Northern District of California
 United States District Court




                                  13          Defendant concedes that a group of Local 1401 firefighters should be conditionally

                                  14   certified as a collective action under the FLSA. See Dkt. No. 35 at 1. Plaintiff argues that the

                                  15   class also should include Santa Rosa police officers who received HIL payments and worked

                                  16   overtime. See Dkt. No. 24-1 at 4.1 Plaintiff contends that the police officers are similarly situated

                                  17   because “employees in multiple job classifications across multiple bargaining units received cash

                                  18   payments in lieu of holidays” and “were all subject to Defendant’s practice of excluding such

                                  19   payments from the ‘regular rate’ of pay.” Id. at 4–5.

                                  20          The Court disagrees. Plaintiff has not shown, even under the more lenient conditional

                                  21   certification standard, that he is “similarly situated” to individuals outside Local 1401. Plaintiff

                                  22   has offered little more than his counsel’s speculative belief that there are other Santa Rosa

                                  23   employees who are similarly situated to Local 1401 members. In the complaint, Plaintiff alleges

                                  24   that Santa Rosa police officers received HIL payments that were not included in their overtime

                                  25   compensation. See Compl. ¶¶ 9, 28. Yet he offers no factual basis for this allegation. As part of

                                  26
                                  27   1
                                        At the hearing on this motion, held on August 31, 2017, counsel for Plaintiff clarified that he is
                                  28   not seeking to conditionally certify a class of all Santa Rosa employees who received HIL or SLI
                                       payments and worked overtime during the relevant period.
                                                                                           3
                                          Case 4:17-cv-01661-HSG Document 48 Filed 09/01/17 Page 4 of 5




                                   1   the motion for conditional certification, Plaintiff attached the collective bargaining agreement

                                   2   between Defendant and the Santa Rosa Police Officers Association, see Dkt. No. 24-9, but he did

                                   3   not provide any declaration from an officer that Defendant improperly calculated his overtime or

                                   4   CTO cash out payments. Rather, Plaintiff’s counsel merely states “[o]n information and belief”

                                   5   that Santa Rosa “provided HIL compensation to employees outside the firefighting bargaining

                                   6   unit” and that such payments were “uniformly excluded . . . from those employees’ overtime and

                                   7   CTO calculations.” Dkt. No. 24-2 ¶¶ 11, 14–15. Again, however, he provides no factual basis for

                                   8   this allegation. And at the hearing held on this motion, Plaintiff’s counsel confirmed that Plaintiff

                                   9   has no “personal knowledge” of “the payroll practices [] for the police officers.”

                                  10          Even if the Court could find based on the collective bargaining agreements that Santa Rosa

                                  11   police officers received HIL payments like Plaintiff, that provision is not itself unlawful. Plaintiff

                                  12   still must show that Defendant subjected those officers to an unlawful policy by omitting such
Northern District of California
 United States District Court




                                  13   payments from their overtime or CTO cash out calculations. Plaintiff’s conclusory allegations

                                  14   simply do not provide sufficient factual evidence that Santa Rosa police officers are

                                  15   similarly situated for purposes of 28 U.S.C. § 216(b). See, e.g., Shaia v. Harvest Mgmt. Sub LLC,

                                  16   306 F.R.D. 268, 272 (N.D. Cal. 2015) (“Unsupported allegations of FLSA violations are not

                                  17   sufficient to meet the plaintiffs’ burden.”); Wellens, No. 13-CV-00581-WHO, 2014 WL 2126877,

                                  18   at *1 (requiring “some factual basis beyond the mere averments in the complaint”).

                                  19          Accordingly, the court GRANTS Plaintiff’s motion for conditional certification under the

                                  20   FLSA as to Santa Rosa firefighters, but DENIES Plaintiff’s motion to extend certification beyond

                                  21   that group.

                                  22          B.     Notice
                                  23          The Court orders the parties to meet and confer within fourteen days of the date of this

                                  24   Order regarding the form of the notice, including the opt-in deadline, and the applicable notice

                                  25   period. If the parties cannot agree, they shall submit their proposals to the Court within fourteen

                                  26   days of the date of this Order for the Court to determine.

                                  27

                                  28
                                                                                         4
                                         Case 4:17-cv-01661-HSG Document 48 Filed 09/01/17 Page 5 of 5




                                   1   IV.   CONCLUSION

                                   2         Accordingly, the motion for conditional certification is GRANTED IN PART. The Court

                                   3   ORDERS as follows:

                                   4         1. The Court conditionally certifies a collective action under 29 U.S.C. § 216(b)

                                   5            consisting of persons who are or were employed by Defendant as a firefighter and

                                   6            worked overtime.

                                   7         2. The parties are GRANTED fourteen days from the date of this Order to submit a joint

                                   8            proposal for the relevant notice period and form of the notice to the class, or separate

                                   9            statements as to why no such joint proposal could be reached.

                                  10         IT IS SO ORDERED.

                                  11   Dated: 9/1/2017

                                  12                                                 ______________________________________
Northern District of California
 United States District Court




                                                                                     HAYWOOD S. GILLIAM, JR.
                                  13                                                 United States District Judge
                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      5
